Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 1 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 2 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 3 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 4 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 5 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 6 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 7 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 8 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 9 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 10 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 11 of 12
Case 08-14631-GMB   Doc 206-2 Filed 04/24/08 Entered 04/24/08 09:59:28   Desc
                         Certification Page 12 of 12
